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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

IN RE EQUIFAX, INC., CUSTOMER                  ) MDL Docket No. 2800
DATA SECURITY BREACH                           ) No.: 1:17-md-2800-TWT
LITIGATION                                     ) CONSUMER ACTIONS



              APPLICATION OF STEVEN P. GREGORY
      OF THE GREGORY LAW FIRM, P.C., FOR APPOINTMENT TO
               PLAINTIFFS’ STEERING COMMITTEE

      Pursuant to this Court’s Case Management Order No. 2 dated January 9,

2018, and Rule 23(g), Federal Rules of Civil Procedure (“Fed.R.Civ.P.”), I, Steven

P. Gregory, hereby respectfully request that the Court appoint me and my firm, the

Gregory Law Firm, P.C., to the Plaintiff’s Steering Committee.



                                   DISCUSSION

      Rule 23(g), Fed.R.Civ.P., requires that in appointing class counsel, the Court

must consider: “(i) the work counsel has done in identifying or investigating

potential claims in the action; (ii) counsel’s experience in handling class actions,

other complex litigation, and the types of claims asserted in the action; (iii)

counsel’s knowledge of the applicable law; and (iv) the resources that counsel will

commit to representing the class.” Rule 23(g)(1)(A), Fed.R.Civ.P. The Court may

in addition “consider any other matter pertinent to counsel’s ability to fairly and

adequately represent the interests of the class.” Rule 23(g)(1)(B), Fed.R.Civ.P. As


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set forth below, the Gregory Law Firm satisfies these criteria for appointment to

Plaintiffs’ Steering Committee. See Exhibit A, Curriculum Vitae of Steven P.

Gregory.

   A. The Gregory Law Firm Can and Will Vigorously Pursue the Claims in
      this Litigation.

      Immediately upon filing the Davis v. Equifax, Inc., case in the United States

District Court for the Northern District of Alabama, the Gregory Law Firm did not

sit back and wait for the Judicial Panel on Multidistrict Litigation to transfer cases

to their ultimate destination or wait for plaintiffs’ groups to form. Instead, after

Equifax filed two motions to stay that were summarily denied, this firm held a

parties’ planning meeting with local counsel for Equifax, submitted a discovery

plan to the Court, and served discovery requests. See Exhibit B, Docket Sheet,

Davis, et al. v. Equifax, Inc., Civil Action No: 7:17-cv-01595-LSC. 

      This law firm has at this early stage demonstrated that it can and will work

to identify and investigate potential claims in the action and pursue discovery; that

it can and will work collegially with defense counsel; that its experience in

handling class actions and other complex litigation serves to benefit the plaintiffs

and putative class members through aggressive litigation; and that the firm’s

knowledge of the applicable law will serve the class members well. See Rule

23(g), Fed.R.Civ.P. and the Manual for Complex Litigation (Fourth) §§ 10.2,

10.21, 10.221, 10.224.


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B.      The Gregory Law Firm Can and Will Commit The Necessary Resources
        and Effort Necessary For This Litigation.

        With over twenty-five years of complex and class action litigation

experience, I understand both the time and financial commitments that the Equifax

Data Breach litigation demands. The Gregory Law Firm is self-funded, has no debt

and a substantial cash position, and indeed has never incurred any debt to fund

either ongoing or new litigation or operating expenses. These facts underscore this

firm’s experience, skill in evaluation and underwriting of cases and claims,

predilection not to over-extend, and the availability of borrowed funds, should that

become necessary.

        As discussed above, the Gregory Law Firm has already invested significant

resources in pre-MDL investigation and litigation of this matter and has

collaborated with other experienced consumer class action counsel 1 since the

beginning of this litigation. This collaboration includes telephone and in-person

conferences as well as meeting and conferring with other counsel before and after

the first hearing before this Honorable Court on January 9. This Court no doubt

values the ability of counsel on both sides of the bar to move the litigation forward

1 Indeed, I filed the Davis case in collaboration with co-counsel Leon R. Storie, Esq., with whom I have
worked on a number of costumer class actions and other matters. One result of our early collaborative
efforts was the appearance of Tina Wolfson, Esq., of the Los Angeles law firm Ahdoot & Wolfson, P.C., in
the Davis case. Ms. Wolfson, Mr. Storie, and I collaborated in the pursuit of discovery in Davis. The
Gregory Law Firm supports the application of Ms. Wolfson for co-lead counsel in this matter and is
willing and able to collaborate with her firm as well as any of the experienced members of the plaintiffs’
bar the Court may select as part of the leadership structure in this case.

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efficiently. My law firm has demonstrated a willingness and desire to pursue the

case in the most expeditious and efficient manner possible.

C.        The Gregory Law Firm Possesses the Professional Experience in Class
          and Complex Litigation Necessary for Service in a Lead Role in This
          Litigation.

          These days, every attorney seems to be listed among the “Best,” the “Top”

or “Super.” These designations have become so ubiquitous that their significance

may have eroded. Like the children of a fictional town, we are all above average.

But for what it is worth, I am a Martindale-Hubbell AV-Preeminent-rated lawyer,

listed in the Marquis Who’s Who in American Law, and am a lifetime member of

the Multi-Million-Dollar Advocates Forum. I have appeared in consumer, antitrust,

and securities class actions in state and federal courts in many parts of the United

States.

          But as a solo practitioner, I have also been appointed to represent children in

juvenile court and adults accused of crimes in the criminal courts. I have

represented immigrants in federal court, in the Executive Office of Immigration

Review, and before the United States Citizenship and Immigration Service. Such

cases require building personal, direct contact and relationships with clients. As

Elizabeth Chamblee Burch noted in the introduction to her article “Monopolies in

Multidistrict Litigation” published in a recent edition of Vanderbilt Law Review,

“[c]lients are people, not inventories.”2 The Gregory Law Firm respectfully

2   Elizabeth Chamblee Burch, Monopolies in Multidistrict Litigation, 70 Vand. L. Rev. 67, 70 (2017)

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submits that the leadership structure in this matter may benefit from the inclusion

of a solo practitioner or two with broad experience. Similarly, as Professor Burch

has argued, the leadership may also benefit from the participation of counsel who

are not repeat players in data breach MDL litigation and thus bring with them fresh

ideas of how this case may be litigated and whether it should be settled or whether

the best interests of the class might be served by a jury trial.

      In all events, I have also litigated my share of complex and class cases. One

of my more recent such matters is the HealthSouth Derivative Litigation, or Tucker

and the Wendell Cook Testamentary Trust v. Richard M. Scrushy, et al,, in the

Circuit Court of Jefferson County, Alabama. My law firm represented one of the

named plaintiffs. In collaboration with co-counsel in Alabama, Delaware, New

Jersey, and California, the firm recovered settlements from members of the board

of directors of HealthSouth Corporation, investment bankers, and related

businesses. In 2009 we tried all remaining claims against the Chief Executive

Officer, Richard Scrushy, resulting in a then-record shareholder’s derivative

judgment of $2.88 billion. See Scrushy v. Tucker, et al., 70 So.3d 289 (Ala. 2011);

Tucker, et al. v. Richard M. Scrushy Charitable Foundation, Inc., 93 So.3d 83

(2012).

      In the early 2000’s, along with co-counsel, I successfully prosecuted a series

of statewide class actions against payday loan businesses operating illegally in

Alabama. In most instances the defendants were ordered to cancel all “debts” owed

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by the class members and to rescind all the class members’ contracts. My co-

counsel and I had to overcome substantial hurdles in these cases, not least of them

arbitration clauses in our clients’ contracts. See, e.g., Money in a Flash Check

Advance, LLC v. Morton, 795 So.2d 629 (2000); Championcomm.net of Tuscaloosa

v. Morton, 12 So.3d 1197 (2009).3

        In virtually all the complex and class cases in which I have appeared, I have

served as part of a team of lawyers. Working in collaboration with these colleagues

in both lead and subordinate positions has proven one of the unexpected pleasures

of my legal practice. I am a member of the Birmingham Bar Association, the

Alabama State Bar, the American Bar Association (Section of Dispute Resolution

(Arbitration Committee, Collaborative Law Committee, Mediation Committee,

Securities in ADR Committee)), the Atlanta International Arbitration Society, and

the International Academy of Collaborative Professionals. Moreover, in this case,

as noted, I have demonstrated my leadership skills by collaborating with plaintiffs’

counsel, and reaching agreements to move the case forward. I anticipate working

cooperatively with whomever the Court appoints in positions of leadership.




3Other class action cases in which I have appeared are listed in my curriculum vitae, attached as Exhibit
A. My co-counsel and I extracted significant recoveries for our clients and class members in these cases
and were awarded substantial fees. But a case in which I was paid less than $2,000 may represent my
most meaningful work as a lawyer. In 1998, my co-counsel Milton Brown, Jr., Esq., and I tried a capital
murder case as appointed counsel for the defendant. Our client was accused of shooting two men in the
back at close range. Our client testified, and the jury found him not guilty of capital murder. State of
Alabama v. Robert Lee Davis, Jr., CC-98-2137 (Cir. Court, Tuscaloosa County). 



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                                  CONCLUSION

      For the foregoing reasons, I respectfully request that this Court appoint me

to the Plaintiffs’ Steering Committee or to any plaintiff’s leadership position it may

deem appropriate.

DATED: February 1, 2018

                                              /s/Steven P. Gregory/

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                          CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2018, I electronically filed the foregoing
Application of Steven P. Gregory of the Gregory Law Firm, P.C., for Appointment
to Plaintiffs Steering Committee with the Clerk of the Court through the CM/ECF
system, that the interested parties in this action will be served through electronic
mail, and that I have hand-delivered a courtesy to Court chambers.

                                              /s/Steven P. Gregory/




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